     Case 2:17-cr-00101-WFN      ECF No. 582    filed 11/08/17   PageID.1824 Page 1 of 1




 1                         UNITED STATES DISTRICT COURT
 2                       EASTERN DISTRICT OF WASHIGNTON
 3
 4   UNITED STATES OF AMERICA,                       No. 2:17-CR-00101-WFN-20
 5
 6                       Plaintiff,                  ORDER MODIFYING PRETRIAL
                                                     RELEASE CONDITIONS
 7                        v.
 8   OLTON LEON GAINES,                                      MOTION GRANTED
 9                                                             (ECF No. 580)
10                       Defendant.
11         Before the Court is Defendant’s Motion to Modify Release Conditions
12   (Unopposed). ECF No. 42. Defendant asks the Court to remove Condition of
13   Release No. 28, which requires he participate in GPS Monitoring.
14         Defendant recites in his motion that neither the U.S. Attorney’s Office nor
15   the U.S. Probation Office object to the modification, and that Defendant has not
16   violated his release conditions. ECF No. 580 at 1.
17         Therefore, IT IS ORDERED, that Defendant’s Motion, ECF No. 580, is
18   GRANTED.
19         Defendant is no longer subject to Condition No. 28 in ECF No. 357. All
20   other terms and conditions of pretrial release not inconsistent herewith are to
21   remain in full force and effect.
22         IT IS SO ORDERED.
23         DATED November 8, 2017.
24
25                                _____________________________________
                                            JOHN T. RODGERS
26                                 UNITED STATES MAGISTRATE JUDGE
27
28

     ORDER - 1
